EXHIBIT 1
4/20/2020                                              United States District Court Eastern District of Pennsylvania

                                                                                                                            STANDARD

                                            United States District Court
                                   Eastern District of Pennsylvania (Philadelphia)
                                 CIVIL DOCKET FOR CASE #: 2:20-cv-01869-TJS


 LH DINING L.L.C. v. ADMIRAL INDEMNITY COMPANY                                              Date Filed: 04/10/2020
 Assigned to: HONORABLE TIMOTHY J. SAVAGE                                                   Jury Demand: Plaintiff
 related Case: 2:20-cv-01949                                                                Nature of Suit: 110 Contract: Insurance
 Cause: 28:2201 Declaratory Judgement (Insurance)                                           Jurisdiction: Diversity

 Plaintiff
 LH DINING L.L.C.                                                      represented by RICHARD M. GOLOMB
 doing business as                                                                    GOLOMB & HONIK
 RIVER TWICE RESTAURANT                                                               1835 MARKET STREET
                                                                                      SUITE 2900
                                                                                      PHILADELPHIA, PA 19103
                                                                                      215-985-9177
                                                                                      Fax: 215-985-4169
                                                                                      Email: rgolomb@golombhonik.com
                                                                                      ATTORNEY TO BE NOTICED


 V.
 Defendant
 ADMIRAL INDEMNITY COMPANY


  Date Filed            # Docket Text
  04/10/2020           1 COMPLAINT against ADMIRAL INDEMNITY COMPANY ( Filing fee $ 400 receipt
                         number 0313-14231300.), filed by LH DINING L.L.C.. (Attachments: # 1 Civil Cover
                         Sheets, # 2 Exhibit 1, # 3 Exhibit 2, # 4 Exhibit 3, # 5 Exhibit 4, # 6 Exhibit 5, # 7 Exhibit
                         6)(GOLOMB, RICHARD) (Entered: 04/10/2020)
  04/10/2020                DEMAND for Trial by Jury by LH DINING L.L.C.. (lisad, ) (Entered: 04/13/2020)
  04/13/2020                Summons Issued as to ADMIRAL INDEMNITY COMPANY. E-MAILED To: COUNSEL
                            on 4/13/2020 (bw, ) (Entered: 04/13/2020)



                                                        PACER Service Center
                                                             Transaction Receipt
                                                                04/20/2020 00:26:40
                                   PACER                                              Client         COVID-19
                                                  lfsblaw0044:2586701:4460865
                                   Login:                                             Code:          Bus Int Ins
                                                                                      Search         2:20-cv-
                                   Description: Docket Report
                                                                                      Criteria:      01869-TJS
                                   Billable
                                                  1                                   Cost:          0.10
                                   Pages:

https://ecf.paed.uscourts.gov/cgi-bin/DktRpt.pl?472275632147969-L_1_0-1                                                               1/1
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                         UNITED STATES DISTRICT COURT FOR
                         EASTERN DISTRICT OF PENNSYLVANIA


 LH DINING L.L.C., doing business as
 RIVER TWICE RESTAURANT
                                                                           COMPLAINT
                                 Plaintiff,
                                                                   JURY TRIAL DEMANDED
         vs.

 ADMIRAL INDEMNITY COMPANY

                                 Defendant.


       Plaintiff LH Dining L.L.C., d/b/a River Twice Restaurant brings this Complaint, alleging

against Defendant Admiral Indemnity Company as follows:

                                   I.         NATURE OF THE CASE

       1.       This is a civil action seeking declaratory relief arising from Plaintiff’s contract of

insurance with the Defendant.

       2.       In light of the Coronavirus global pandemic and state and local orders mandating

that restaurants not permit in-store dining, Plaintiff shut its doors for customers on March 16, 2020.

       3.       Plaintiff’s insurance policy provides coverage for all non-excluded business losses,

and thus provides coverage here.

       4.       As a result, Plaintiff is entitled to declaratory relief that the restaurant is covered

for all business losses that have been incurred in an amount greater than $150,000.00.

                                        II.      JURISDICTION

       5.       This court has subject matter jurisdiction over this action pursuant to 28 U.S.C. §

1332, because there is complete diversity of citizenship between Plaintiff and the Defendant.

Further, Plaintiff has suffered business losses in an amount greater than $150,000.00. The amount
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in controversy necessary for diversity jurisdiction over a declaratory judgment action is measured

by the value those business losses. Id. at § 1332(a).

         6.     The Court has personal jurisdiction over Defendant because at all relevant times it

has engaged in substantial business activities in the Commonwealth of Pennsylvania. At all

relevant times Defendant transacted, solicited, and conducted business in Pennsylvania through its

employees, agents, and/or sales representatives, and derived substantial revenue from such

business in Pennsylvania.

         7.     Venue is proper in this district pursuant to 28 U.S.C. § 1391(a) because a substantial

portion of the wrongful acts upon which this lawsuit is based occurred in this District. Venue is

also proper pursuant to 28 U.S.C. § 1391(c) because Defendant is a corporation that has substantial,

systematic, and continuous contacts in the Commonwealth of Pennsylvania, and as a result it is

subject to personal jurisdiction in this District.

         8.     The acts and/or omissions complained of took place, in whole or in part, within the

venue of this Court.

                                            III.      PARTIES

         9.     At all relevant times, Plaintiff LH Dining L.L.C., d/b/a River Twice Restaurant is

a Limited Liability Company authorized to do business and doing business in the Commonwealth

of Pennsylvania, County of Philadelphia. LH Dining L.L.C. owns, operates, manages, and/or

controls the River Twice Restaurant located at 1601 E. Passyunk Avenue in Philadelphia, PA

19148.

         10.    At all relevant times, Defendant Admiral Indemnity Company is a corporation

doing business in the County of Philadelphia, Commonwealth of Pennsylvania, subscribing to

Policy Number 21-31876937-30 issued to the Plaintiff for the period of September 23, 2019 to



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September 23, 2020. See Policy Declaration page, attached hereto as Exhibit 1. Defendant is

transacting the business of insurance in the Commonwealth of Pennsylvania and within the County

of Philadelphia and the basis of this suit arises out of such conduct.

                                  IV.     FACTUAL BACKGROUND

A.        Insurance Coverage

          11.     On or about September 23, 2019, Defendant entered into a contract of insurance

with the Plaintiff, whereby Plaintiff agreed to make payments to Defendant in exchange for

Defendant’s promise to indemnify the Plaintiff for losses including, but not limited to, business

income losses at its restaurant located in Philadelphia County (the “Insured Property”).

          12.     The Insured Property consists of River Twice Restaurant located 1601 E. Passyunk

Avenue in Philadelphia1 which is owned, leased by, managed, and/or controlled by the Plaintiff.

https://www.rivertwicerestaurant.com/ (last visited April 7, 2020). Prior to March 16, 2020, River

Twice was open Wednesday through Saturday from 5-10 p.m. and on Sundays from 11 a.m. - 1:30

p.m. and 5-9 p.m. with the capacity to hold up to 36 guests inside the restaurant and another 32

guests outside, weather permitting.

          13.     The Insured Property is covered under a policy issued by the Defendant with policy

number believed to be 21-31876937-30 (hereinafter “Policy”).

          14.     The Policy is currently in full effect, providing, among other things property,

business personal property, business income and extra expense, contamination coverage, and

additional coverages between the period of September 23, 2019 through September 23, 2020.




1   This address is listed as the Insured Property under the Policy.

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       15.     Plaintiff faithfully paid policy premiums to Defendant, specifically to provide,

among other things, additional coverages in the event of business interruption or closures by order

of Civil Authority.

       16.     Under the Policy, insurance is extended to apply to the actual loss of business

income sustained and the actual, necessary and reasonable extra expenses incurred when access to

the Insured Property is specifically prohibited by order of civil authority as the direct result of a

covered cause of loss to property in the immediate area of Plaintiffs’ Insured Property. This

additional coverage is identified as coverage under “Civil Authority.”

       17.     The Policy is an all-risk policy, insofar as it provides that covered causes of loss

under the policy means direct physical loss or direct physical damage unless the loss is specifically

excluded or limited in the Policy.

       18.     Based on information and belief, the Defendant has accepted the policy premiums

with no intention of providing any coverage for business losses or the Civil Authority extension

due to a loss and shutdown.

       19.     The Policy’s Exclusion of Loss Due to Virus or Bacteria does not apply to the

business losses incurred by Plaintiff here.

B.     The Coronavirus Pandemic

       20.     The scientific community, and those personally affected by the virus, recognize the

Coronavirus as a cause of real physical loss and damage. It is clear that contamination of the

Insured Property would be a direct physical loss requiring remediation to clean the surfaces of the

restaurant.

       21.     The virus that causes COVID-19 remains stable and transmittable in aerosols for

up to three hours, up to four hours on copper, up to 24 hours on cardboard and up to two to three



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days on plastic and stainless steel. See https://www.nih.gov/news-events/news-releases/new-

coronavirus-stable-hours-surfaces (last visited April 9, 2020).

         22.    The CDC has issued a guidance that gatherings of more than 10 people must not

occur. People in congregate environments, which are places where people live, eat, and sleep in

close proximity, face increased danger of contracting COVID-19.

         23.    The global Coronavirus pandemic is exacerbated by the fact that the deadly virus

physically infects and stays on surfaces of objects or materials, “fomites,” for up to twenty-eight

(28) days.

         24.    China, Italy, France, and Spain have implemented the cleaning and fumigating of

public areas prior to allowing them to re-open publicly due to the intrusion of microbials.

C.       Civil Authority

         25.    On March 6, 2020, Pennsylvania Governor Tom Wolf issued a Proclamation of

Disaster Emergency, the first formal recognition of an emergency situation in the Commonwealth

as a result of COVID-19. See Exhibit 2.

         26.    On March 16, the City of Philadelphia announced the closure of non-essential

businesses, including restaurants like the Plaintiff’s. See Exhibit 3; https://www.phila.gov/2020-

03-16-city-announces-new-restrictions-on-business-activity-in-philadelphia/ (last visited April 9,

2020).

         27.    On March 19, 2020 Governor Wolf issued an Order requiring all non-life-

sustaining businesses in Commonwealth to cease operations and close all physical

locations. Businesses that were permitted to remain open were required to follow “social

distancing practices and other mitigation measures defined by the Centers for Disease Control.”




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See          https://www.scribd.com/document/452416027/20200319-TWW-COVID-19-Business-

Closure-Order (last visited April 7, 2019).

       28.      On March 22, 2020, Philadelphia Mayor Jim Kenney issued an Emergency Order

Temporarily Prohibiting Operation of Non-Essential Businesses and Congregation of Persons to

Prevent the Spread of 2019 Novel Coronavirus, ordering the closure of all businesses except those

previously listed by the Governor of Pennsylvania as Life-Sustaining Businesses, noting that

“COVID-19 may remain viable for hours to days on surfaces made from a variety of materials

located in businesses and other places, thus contaminating certain property and places.” See

Exhibit 3.

       29.      On March 23, 2020, Governor Wolf issued a Stay-at-Home Order for residents of

Philadelphia, Allegheny, Bucks, Chester, Delaware, Monroe, and Montgomery Counties. See

Exhibit 4. On that same date, the Pennsylvania Department of Health issued a similar Order,

noting that “operation of non-life-sustaining businesses present the opportunity for unnecessary

gatherings, personal contact and interaction that will increase the risk of transmission and the risk

of community spread of COVID–19.” See Exhibit 5.

       30.      On April 1, 2020, Governor Wolf extended the March 23, 2020 Stay at Home Order

to the entire Commonwealth of Pennsylvania. See Exhibit 6.

       31.      These Orders, as they relate to the closure of all “non-life-sustaining businesses,”

evidence an awareness on the part of both state and local governments that COVID-19 causes

damage to property. This is particularly true in places where business is conducted, such as

Plaintiff’s, as the requisite contact and interaction causes a heightened risk of the property

becoming contaminated.




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D.     Impact on River Twice Restaurant

       32.      As a result of the Orders referenced herein, Plaintiff shut its doors to customers on

March 16, 2020 and continues to be shutdown.

       33.      As a further direct and proximate result of the Orders, Plaintiff has been forced to

furlough eight (8) employees.

       34.      Plaintiff’s business is not a closed environment, and because people – staff,

customers, community members, and others – constantly cycle in and out of the restaurant, there

is an ever-present risk that the Insured Property is contaminated and would continue to be

contaminated.

       35.      Restaurants like the Plaintiff’s are more susceptible to being or becoming

contaminated, as both respiratory droplets and fomites are more likely to be retained on the Insured

Property and remain viable for far longer as compared to a facility with open-air ventilation.

       36.      Plaintiff’s business is also highly susceptible to rapid person-to-property

transmission of the virus, and vice-versa, because the service nature of the business places staff

and customers in close proximity to the property and to one another.

       37.      The virus is physically impacting River Twice Restaurant. Any effort by the

Defendant to deny the reality that the virus causes physical loss and damage would constitute a

false and potentially fraudulent misrepresentation that could endanger the Plaintiff and the public.

       38.      A declaratory judgment determining that the coverage provided under the Policy

will prevent the Plaintiff from being left without vital coverage acquired to ensure the survival of

the business due to the shutdown caused by the civil authorities’ response is necessary. As a result

of these Orders, Plaintiff has incurred, and continues to incur, among other things, a substantial

loss of business income and additional expenses covered under the Policy.



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                                    V.   CAUSE OF ACTION
                                      DECLARATORY RELIEF

       39.     Plaintiff re-alleges and incorporates by reference into this cause of action each and

every allegation set forth in each and every paragraph of this Complaint.

       40.     The Declaratory Judgment Act, 28 U.S.C. § 2201(a), provides that in “a case of

actual controversy within its jurisdiction . . . any court of the United States . . . may declare the

rights and other legal relations of any interested party seeking such declaration, whether or not

further relief is or could be sought.” 28 U.S.C. § 2201(a); see also Principal Life Ins. Co. v.

Minder, No. CIV A 08-5899, 2009 WL 1917096 (E.D. Pa. July 1, 2009); Miller v. Liberty Mut.

Grp., 97 F. Supp. 2d 672 (W.D. Pa. 2000).

       41.     An actual controversy has arisen between Plaintiff and the Defendant as to the

rights, duties, responsibilities and obligations of the parties under the Policy in that Plaintiff

contends and, on information and belief, the Defendant disputes and denies that:

               a.      The Orders constitute a prohibition of access to Plaintiff’s Insured Property;

               b.      The prohibition of access by the Orders has specifically prohibited access
               as defined in the Policy;

               c.     The Policy’s Exclusion of Loss Due to Virus or Bacteria does not apply to
               the business losses incurred by Plaintiff here.

               d.      The Orders trigger coverage;

               e.      The Policy provides coverage to Plaintiff for any current and future civil
               authority closures of restaurants in Philadelphia County due to physical loss or
               damage directly or indirectly from the Coronavirus under the Civil Authority
               coverage parameters;

               f.     The Policy provides business income coverage in the event that
               Coronavirus has directly or indirectly caused a loss or damage at the insured
               premises or immediate area of the Insured Property; and

               g.     Resolution of the duties, responsibilities and obligation of the parties is
               necessary as no adequate remedy at law exists and a declaration of the Court is
               needed to resolve the dispute and controversy.


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       42.     Plaintiff seeks a Declaratory Judgement to determine whether the Orders constitute

a prohibition of access to Plaintiff’s Insured Property as Civil Authority as defined in the Policy.

       43.     Plaintiff further seeks a Declaratory Judgement to affirm that the Order triggers

coverage.

       44.     Plaintiff further seeks a Declaratory Judgment to affirm that the Policy provides

coverage to Plaintiff for any current and future Civil Authority closures of restaurants in

Philadelphia County due to physical loss or damage from the Coronavirus and the policy provides

business income coverage in the event that Coronavirus has caused a loss or damage at the Insured

Property.

       45.     Plaintiff does not seek any determination of whether the Coronavirus is physically

in or at the Insured Property, amount of damages, or any other remedy other than declaratory relief.


                                   VI.    PRAYER FOR RELIEF

       WHEREFORE, Plaintiff herein prays as follows:

1)     For a declaration that the Orders constitute a prohibition of access to Plaintiff’s Insured

Property.

2)     For a declaration that the prohibition of access by the Orders is specifically prohibited

access as defined in the Policy.

3)     For a declaration that the Orders trigger coverage under the Policy.

4)     For a declaration that the Policy provides coverage to Plaintiff for any current, future and

continued civil authority closures of restaurants in Philadelphia County due to physical loss or

damage directly or indirectly from the Coronavirus under the Civil Authority coverage parameters.

5)     For a declaration that the Policy provides business income coverage in the event that

Coronavirus has directly or indirectly caused a loss or damage at the Plaintiff’s Insured Property


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or the immediate area of the Plaintiff’s Insured Property.

6)     For such other relief as the Court may deem proper.

TRIAL BY JURY IS DEMANDED

Dated: April 10, 2020                         Respectfully submitted,


                                              /s/ Richard M. Golomb
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